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                                                                                                       FILED
                                                                                            John E. Triplett, Acting Clerk
                       IN THE UNITED STATES DISTRICT COURT                                   United States District Court

                      FOR THE SOUTHERN DISTRICT OF GEORGIA                               By CAsbell at 1:36 pm, Jan 12, 2021

                                WAYCROSS DIVISION


    OSCAR VENTURA RODRIGUEZ,

                 Plaintiff,                                    CIVIL ACTION NO.: 5:20-cv-153

         v.

    WARDEN D. GREENWALT, 1

                 Defendant.

                                              ORDER

        This matter comes before the Court based on Plaintiff’s failure to follow a Court directive

and Order. Plaintiff filed a cause of action seeking declaratory relief, which was originally filed

in Case Number 5:20-mc-1, but he did not file the requisite filing fee or move to proceed in

forma pauperis. Thus, on the same date, the Clerk of Court mailed a deficiency notice to

Plaintiff at this last known address, informed him he must pay the filing fee or move to proceed

in forma pauperis within 21 days of that notice, and advised Plaintiff his failure to comply with

that directive could result in the dismissal of his cause of action. Case Number 5:20-mc-1, Doc.

2. That notice and the attached blank application form were returned to the Court as

undeliverable or as otherwise failing to reach Plaintiff. Id. at Doc. 3. Upon the Court’s review

of Plaintiff’s filings, the Court directed the Clerk of Court to initiate a new civil cause of action,

using the documents Plaintiff already submitted for filing, on December 17, 2020. Id. at Doc. 4.

The Court ordered Plaintiff to provide names of any individuals he wished to name in this case

within 14 days and reminded Plaintiff of his obligation to either pay the requisite filing fee or


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         The Clerk of Court lists Joseline Almarante as a Defendant in this case. Ms. Almarante is
Plaintiff’s ex-wife. Doc. 1 at 26. She should not be a named Defendant in this case. The Court has sua
sponte named the Warden at the facility where Plaintiff is currently housed as a placeholder Defendant.
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move for leave to proceed in forma pauperis within 21 days of that Order. Id. To this end, the

Court directed the Clerk of Court to provide Plaintiff another blank application for pauper status.

Id. The Court warned Plaintiff his failure to comply with this Court’s Orders would result in the

dismissal of his cause of action. Id. There is nothing indicating this Order was returned as

undeliverable or as otherwise failing to reach Plaintiff.

          However, the Court will provide Plaintiff with one more opportunity to comply with its

Orders. Thus, the Court ORDERS Plaintiff to either move to proceed in forma pauperis or pay

the filing fee within 14 days of this Order. Additionally, Plaintiff is to provide the names of any

individuals he wishes to name as Defendants in this case within 14 days of this Order. The Court

DIRECTS the Clerk of Court to provide Plaintiff with yet another blank copy of this Court’s

preferred inmate-plaintiff application to proceed in forma pauperis and another copy of

Document 4 in Case Number 5:20-mc-1.

          Plaintiff’s failure to respond to this Court’s Order or to otherwise show cause why his

case should not be dismissed shall result in this dismissal of this cause of action, without

prejudice, for failure to follow this Court’s directives and failure to prosecute. In addition,

Plaintiff is advised of his obligation to inform the Court, in writing, of any change in address.

Plaintiff’s failure to abide by this directive also shall result in the dismissal of this cause of

action.

          SO ORDERED, this 12th day of January, 2021.




                                        _____________________________________
                                        BENJAMIN W. CHEESBRO
                                        UNITED STATES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA



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